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 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                 No. CV-16-03602-PHX-DJH
10                 Plaintiff,                       ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                   Defendants.
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15          This matter is before the Court on the Status Report as to Defendant Hughes
16   Federal Credit Union Settlement (Doc. 115), wherein the parties request additional time
17   to complete settlement.
18          Accordingly,
19          IT IS ORDERED that a Stipulation to Dismiss as to Defendant Hughes Federal
20   Credit Union only shall be filed on or before June 6, 2018. If said Stipulation to
21   Dismiss has not been filed by June 6, 2018, the parties shall file a Status Report to the
22   Court on that date.
23          Dated this 26th day of April, 2018.
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                                                  Honorable Diane J. Humetewa
26                                                United States District Judge

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